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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:
                                                           Case No. 19-13011 (JLG)
   PONDEROSA-STATE ENERGY, LLC,
                                                           Chapter 11
         Debtor.
-------------------------------------------------------x

                             BRIDGE ORDER AUTHORIZING USE OF
                                     CASH COLLATERAL
                               [RELATED TO ECF 3, 119, 145, 147]


         Upon consideration of the motion dated September 18, 2019 [ECF 3] (the “Motion”) of

Ponderosa-State Energy, LLC, as debtor and debtor in possession (the “Debtor”) pursuant to

sections 361 and 363(c) of the Bankruptcy Code for entry of orders authorizing the Debtor to use

cash collateral on an interim basis and a final basis and providing related relief; and the Third

Interim Order Authorizing Use of Cash Collateral and Notice of Final Hearing [ECF 119] (the

“Third Interim Cash Collateral Order”) scheduling a hearing on the Motion for March 3, 2020 and

approving, on an interim basis, a cash collateral budget that goes through March 14, 2020; and the

Second Supplement To Motion For Authorization Pursuant To 11 U.S.C. §§105, 361, 362 and

363(C) For Use of Cash Collateral [ECF 145] and the proposed 13-week cash collateral budget

(the “Budget”) attached thereto; and the Notice of Adjournment [ECF 147] adjourning all matters

scheduled for March 3, 2020 to April 2, 2020 at 2:00 p.m. (ET); and the Court having determined

that the legal and factual bases set forth in the Motion and the circumstances established in the

foregoing referenced pleadings establish just cause for the limited relief granted herein; and is in the

best interests of the Debtor, its estate, its creditors, and all parties in interest; and after due

deliberation and sufficient cause appearing therefor,
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IT IS HEREBY ORDERED THAT

      1.       The Debtor shall continue to be entitled to use cash collateral (as defined in section

               363(a) of the Bankruptcy Code) to pay all ordinary and necessary expenses in the

               ordinary course of its business for the purposes contained in the Budget attached as

               Exhibit A through and including April 2, 2020 and further until this Court enters

               another order on the Motion.

      2.       All other terms of the Third Interim Cash Collateral Order remain in full force and

               effect.

      3.       The Court shall retain jurisdiction to hear and determine all matters arising from or

               related to the implementation, interpretation, and/or enforcement of this Order.




Dated: March 12, 2020
      New York, New York
                                      /s/   James L. Garrity, Jr.
                                      THE HONORABLE JAMES L. GARRITY, JR.
                                      UNITED STATES BANKRUPTCY JUDGE




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